                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION

                                  Case No.: 7:17-cv-00170-D

BRANDON A. MOORE,                            )
                                             )
                                             )
                    Plaintiff,               )                   MOTION TO DISMISS
                                             )
v.                                           )
                                             )                Fed. R. Civ. P. 12(b)(6), and
                                             )                Local Civil Rules 7.1 and 7.2
SMITHFIELD FARMLAND CORP.,                   )
                                             )
                                             )
                    Defendant.               )


       Pursuant to Fed. R. Civ. P. 12(b)(6), Defendant, Smithfield Farmland Corp.

(“Smithfield” or the “Company”), by its attorneys, respectfully moves this Court to dismiss

Plaintiff Brandon A. Moore’s (“Plaintiff”) Complaint with prejudice. In support of this motion,

Smithfield submits the accompanying Memorandum of Law.

       For the reasons stated in the accompanying memorandum, Smithfield respectfully

requests the Court grant its motion and enter an order dismissing Plaintiff’s claim with prejudice

and awarding the Company costs, attorneys’ fees, and such other relief as the Court deems

appropriate.

       Respectfully submitted this 15th day of September 2017.

                                             SMITHFIELD FARMLAND CORP.

                                             ___/s/ Melissa A. Romanzo________________
                                             Melissa A. Romanzo (NC Bar No. 38422)
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 15th day of September 2017, a true and correct copy of the

foregoing was filed with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to the following:

                               Angela Newell Gray, Esq.
                               7 Corporate Center Court, Suite B
                               Greensboro, NC 27408
                               angela@graynewell.com

                               Attorney for Plaintiff



                                                        ___/s/ Melissa A. Romanzo_____________
                                                               Melissa A. Romanzo




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